829 F.2d 36Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Bennie Lee LINDER, Plaintiff-Appellant,v.John G. PATSEAVOURAS; Charles Creecy; F. Evans; C. Battle;C. Cheeks; A. Evans, Defendants-Appellees.
    No. 87-6032
    United States Court of Appeals, Fourth Circuit.
    Submitted June 30, 1987.Decided September 2, 1987.
    
      Bennie Lee Linder, appellant pro se.
      Jacob Leonard Safron, Office of the Attorney General, for appellees.
      Before WIDENER, JAMES DICKSON PHILLIPS and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Linder v. Patseavouras, C/A No. 86-367-CRT (E.D.N.C., March 2, 1987).
    
    
      2
      AFFIRMED.
    
    